
The Supreme Court affirmed the decision of the lower Court on February 28, 1857, in the following opinion by
Lowrie, J.:
After the lien was filed, the defendant below encouraged another person to become the purchaser of it, and now, when he or the purchaser from him, makes defence on grounds of mere form, he must expect to be held very strictly to the demands of form himself.
In fact the defendant makes no real defence, though there is a , plea of not guilty in for him, which is senseless, and therefore a nullity.
It is the subsequent purchaser of the building who makes defence, pleading that the lien was not filed within six months. He traverses no part of the claim in form or substance except this, and therefore he admits all but this. He had no right to any instruction from the Court on any other point than this, and he got none.
On this point the instruction was substantially, that the last materials having been furnished within six months, the lien was good -if all were furnished on one contract. This was right.
Judgment affirmed, and record remitted.
